Gov. Ex. 86
Gov. Ex. 87
                                                                 U.S. Department of .Justice


                                                                 Tax Division
                                                                 IVt~l'hingwn   D. C. J05JO
          RE7.:1JW:CJSmith
          5-1 1-23920
          201620 11033

                                                                 <ktobcr 2. 20 18

          l3Y EMAIL
          Scott S. Balber
          Herbcn Smith Freehil ls
          450 Lexington Avenue 14'h Floor
          New York, NY 10017
                                                                 Re:      Evatt Taminc
                                                                          Statutory Immunity - Agreement

          Dear Mr. Balbcr:

                   In accordance with our prior phone conversations. emails. and attorney proffer conducted
          by you and members of ynur linn on Thursday September 27, 20 18. the government has agreed
          to grant your client. Evatt Tam inc, statutory immunity pursuant to Title 18 lJ.S.C. § 6003. lr is
          the government's understanding that pursuant to this grant of immunity, Mr. Tam inc has agreed
          to continued long-term cooperation with the government's investigation of Robert Smith. Robert
          Brockman, and other related persons and entities. Mr. Tnminc·s cooperation to include: meeting
          with investigators and prosecutors as requested; pmvic.iing truthful statements und tcstimlmy
          regarding relevant facts known to him; being available to appear and testify hefore the Grand
          Jury, at trial, and at any other relevant court proceeding in the United States: :Jnd providing
          relevant documents within his custody and control. Mr. Taminc understands that a fai lure to
          provide truthful testimony. or to otherwise provide fa lse information to the govcmrncnt. can
          result in his prosecution fi.1r pc~jury or obstruction of justice. and that his grantor immunity does
          not prevent any such prosecution.

                                                         Sincerely.

                                                        s!CORI~'l' .1.   SM/1H
                                                         Senior Litigation Counsel



          We huvc reud this lctlcr. illld h:wc rcvicwcJ it carct'ully together. We unclcrslund the tcnns of
          thislcttcr.an wcogrectnJhcS\: tcrms.                    -~ ~ , ~

          Evatt Tamin   f ~ ,  IJ                                Scott S. Balbcr
          Dated: ./_ Ou4o~ ~ I 0                                 Counsel lor Evan Tuminc
                                                                 Dated: 0 ( \-c..\ c.-- 2._ J        2 c. \ ~



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                                                                                                      EXHIBIT

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                                                  Ex. 87 p. 1 of 1                                      No. 87




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Gov. Ex. 88
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                    EXHIBIT 89

   Guilmette July 2021
         Exam




                                  GOVERNMENT
                                    EXHIBIT

                                 4:21-CR-009-GCH
                                       No. 89




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Gov. Ex. 91
                    EXHIBIT 91

Agronin July 2021 Exam




                                  GOVERNMENT
                                    EXHIBIT

                                 4:21-CR-009-GCH
                                       No. 91




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Gov. Ex. 91A
                EXHIBIT 91A

       Agronin July Exam
  Excerpt from Ex. 91, timestamp:
           30:25 to 34:05




                                GOVERNMENT
                                  EXHIBIT

                               4:21-CR-009-GCH
                                    No. 91A



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Gov. Ex. 93
                    EXHIBIT 93

Dietz/Denney Oct. 2021
        Exam




                                  GOVERNMENT
                                    EXHIBIT

                                 4:21-CR-009-GCH
                                       No. 93



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Gov. Ex. 104
                                          GOVERNMENT
                                            EXHIBIT

                                         4:21-CR-009-GCH
                                              No. 104




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                     Ex. 104 p. 1 of 1



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                                          GOVERNMENT
                                            EXHIBIT

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                     Ex. 115 p. 2 of 4



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                     Ex. 115 p. 3 of 4



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                     Ex. 115 p. 4 of 4



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Gov. Ex. 116
               EXHIBIT 116

Brockman Dec. 2018
Reynolds & Reynolds
      Speech



                              GOVERNMENT
                                EXHIBIT

                             4:21-CR-009-GCH
                                  No. 116




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Gov. Ex. 116A
             EXHIBIT 116A

 Brockman Dec. 2018
 Reynolds & Reynolds
       Speech
Excerpt from Ex. 116, timestamp:
          24:20 to 26:11


                               GOVERNMENT
                                 EXHIBIT

                              4:21-CR-009-GCH
                                   No. 116A



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Gov. Ex. 119
                      GOVERNMENT
                        EXHIBIT

                     4:21-CR-009-GCH
                          No. 119




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Gov. Ex. 120
                      GOVERNMENT
                        EXHIBIT

                     4:21-CR-009-GCH
                          No. 120




Ex. 120, p. 1 of 3
                                                    Green's WMT (AI)
                 100%
                  90%
                  80%
Percent of Max




                  70%
                  60%
                  50%
                  40%
                  30%
                  20%
                  10%
                  0%
                            IR          DR          CNS          MC           PA         FR   LDFR
                  Patient: Brockman, Robert. Test administered: 5/19/2021
                  ELDERLY WITH EXIT SCORE 0 to 9 (Dr. Brockhaus, N=21, mean age=67)
                  ELDERLY WITH EXIT SCORE 10 to 14 (Dr. Brockhaus, N=51, mean age=70)
                  DEMENTIA WITH EXIT SCORE 15 to 19 (Dr. Brockhaus, N=45, mean age=73)
                  DEMENTIA WITH EXIT SCORE 20 to 24 (Dr. Brockhaus, N=50, mean age=76)
                  DEMENTIA WITH EXIT SCORE 25+ (Dr. Brockhaus, N=31, mean age=76)
                  Abnormal Performance Area




Ex. 120, p. 2 of 3
                                                       Green's WMT (AI)
                 100%
                  90%
                  80%
Percent of Max




                  70%
                  60%
                  50%
                  40%
                  30%
                  20%
                  10%
                  0%
                             IR           DR           CNS           MC            PA            FR       LDFR
                  Patient: Brockman, Robert. Test administered: 5/19/2021
                  Adults with neurological diseases (n=104)
                  3 cases with bilateral hippocampal damage and amnesia (Goodrich-Hunsaker and Hopkins)
                  Memory clinic patients with dementia (group 1, N=42)
                  Memory clinic patients with dementia (group 2, N=23)
                  Simulators Sophisticated N=49 Armistead-Jehle & Denney AN 2015
                  Abnormal Performance Area




Ex. 120, p. 3 of 3
Gov. Ex. 121
                      GOVERNMENT
                        EXHIBIT

                     4:21-CR-009-GCH
                          No. 121




Ex. 121, p. 1 of 2
                                                    Green's NV-MSVT (AI)
                 100%
                  90%
                  80%
Percent of Max




                  70%
                  60%
                  50%
                  40%
                  30%
                  20%
                  10%
                  0%
                             IR           DR           CNS           DRA           DRV          PA   FR
                  Patient: Brockman, Robert. Test administered: 5/19/2021 9:11:20 AM
                  48 Sophisticated Dementia Simulators Armistead-Jehle & Denney AN-Adult 2015
                  33 MMC Clinical Dementia Cases
                  49 dementia patients, mean age=78 (SD=7) Dr. Cohen (N=49)
                  Mixed dementia group who passed NV-MSVT criterion A (N=56, Dr. Cohen)
                  Mixed dementia group who failed NV-MSVT criterion A (N=55, Dr. Cohen)
                  Abnormal Performance Area




Ex. 121, p. 2 of 2
Gov. Ex. 122
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                   The Clinical Neuropsychologist




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                   ISSN: 13854046




           Determination of the smoking gun of intent:
           significance testing of forced choice results in
           social security claimants

           Laurence M. Binder & Michael D. Chafetz

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           gun of intent: significance testing of forced choice results in social security claimants, The Clinical
           Neuropsychologist, 32: 1, 132-1 44, DOI : 1 0. 1 080/1 3854046.201 7. 1 337931

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            THE CLINICAL NEUROPSYCHOL061Sヽ 2018
            VOL,32′ NO.1,132‑144
            httpsi//doi.org/10.1080/13854046.2017.1337931                                      熟暑
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                                                                                                                                sl




            団 Deterrnination ofthe smoking gun ofintentisignincance
            testing of forced choice resuits in sociat security ciairrlants

            Laurence ru.Binderaキ and lⅥ ichael Do Chafetzbキ
            BIndependent Practice′ Beaverton′
                                              OR′ USA,bindependent Practice′ New Orleans′    LA′   USA



                ABSTRACT                                                                      ARTICLE HISTORY
                Objective:Signincandy below‐ chanceindings on foに ed ChOice tests             Received 10 January 2017
                have been described as revealing the smoking gun ofintent″      that          Accepted 25 May 2017
                proved malingeringo The issues of probab‖ ity teveis,one‐ tailed vs.
                                                                                                   ORDS
                                                                                              KEYⅥ ′
                two‐ tailed tests,and the combining of PVT sco「 es on signincantly
                                                                                              Malingering,binOmial
                below‐ chance nndingS Were addressed in a previous study′    with a           theorenl,fbrced cholce tests,
                recommendation ofa probability levet of,20 to test the signincance            SociaI Security Disab‖ ity
                of below‐ chance results,The purpose of the present study was to
                determine the rate of betow‐ chance nndings in a SociaI Security
                Disab‖    ity claimant sample using the previous recoRlmendations,
                Methodi We compared the ttequency of below‐              chance results
                on forced choice performance validky tests(PVTS)at tWo levels
                of signincance′ ,05 and ,20,and when using signincance testing
                on individual subtests of the Pヽ /Ts compared with total scores in
                claimants for SociaI Security Disab‖ ity in order to deter円 line the
                rate ofthe expected increase.ResuitsI The frequency of signincant
                resuitsincreased with the higherievel ofsignincancefOreach subtest
                ofthe PVT and when combining individualtest sections to increase
                the number of test hems,wtth up to 20%of ciaimants sh6wing
                signincantly below‐ chance resuits atthe higher p‐ value,ConciusionsI
                Thesenndingsarediscussed in lightofSociaI SecurityAdministration
                policy′ showing animpacton policyissues concerning child abuse and
                neglect′   and theimportance ofusing thesetechniquesin evaluations
                for SociaI Security Disability。




            introduction
            in neuropsychological and medical evaluations′              examinees may malinger by intentiona‖ y
            underperiormingonmeasuresofabilityorbyexaggeratingsymptOms(He‖                               bronner et al.′
            2009),Malingering is deined as the intentional production or exaggeration of symptoms
            or abnormal behavior′            or the manipuiation of test performarlce′      in order to deceive the
            examiner into incorrectly concluding that the claimed dysfunction is greater than what
            actua‖ y exists,forthepurposeofobtaininganexternalincentive(StiCk′ Sherman′ &Iverson′
            1999,Bianchini′ Greve′ &Glynn,2005,Heilbronner et al.′             2009,Chafetz et al.′      2015).Forthe
            incendve of SociaI SecuHty Disabilky(SSD)benents′ ciaimants who are malingenng may



            CONTACT Mkhad D.Cha俺 セ O brainresouに e@"hoα cOm
            tAuthorship is alphabetical.

            0 2017informa UK Limtted′ trading asTaylor&Franch GЮ   up




Ex. 122, p. 2 of 15
                                                                      THECLIMCALNEUROPSYCHOLOGБ T 0 133


            exaggeratetheirfunctionaHimitationsinordertomeetSSDdisab‖ ity requirements((Chafetz
            et al.,2015),PerfOrmance vatidtty tests(PVTS)are uSefuifor assessment of the validhy of
            cognitive testing(Armistead― Jehle&Denney,2015,8ianchini et al.′ 2005,Larrabee,2012).
            However′ for several years,the Sociai Security Administration(SSA)has aCtiVely discouraged
            the use of validity testing in its consultative examinations(Chafetz et al.′          2015)for reasons
            that are outside the scope ofthis paper(see chafetz′ 2010),
                PVTsthat employ established cut‐ ofFs are designed to assess the validity ofperformance
            in neuropsychological evaluations(Larrabee′ 2012),Many PVTS utilize a forced choice format
            in which the exanlinee must choose between targets and foils,Apartfrom the use of estab―
            lished cut― ofFs,any fbrced choice test score fa‖ ing beiow chance can also be tested forsta―
            tistical signincance,Testingdeterminesifthescoreissuttcientlylowthatitisuntikelyitcouid
            have been generated by uniucky guessing ofthe incorrect answers by truly impaired indト
            viduals.lf the resuit is statistica‖   y signincantrthen itis highiy probable that the examinee
            intentiona‖ y generated incorrect answers(Binde吟          1990,Pankratz&Erickson′ 1990,SIick
            et al.′   1999),
                A PVT score thatis signittcantly beiovv chance provides the strongest psychometric evi‐
            dence of deliberate underperformance that is consistent vvith a diagnosis of malingering
            because it provides evidence that the exanlinee intentiona‖ y gave wrong answers.The
            alternative explanation that this score lA,aS Obtained by consistently unlucky guessing ofthe
            ansvvers by irnpaired individualsisiesstikely because the cutting scores obtained on samples
            composed ofimpaired individuals wtth well― documented brain in,unes Or disease are well
            above chance,Forexample′ the below― chance score might be compared to the much higher
            scores obtained in a sample with we‖ ― documented moderate to severe traumatic brain
            in,unes(TOmbaugh′       1996)。

                                      (1999)Criteria forthe determination of malingering′ as we‖ as the
               The original Stick et al。
            revised criteria(SIick&Sherman′ 2013)′ indiCatedthataPVTscoresignincantlybeiowchance
            atthe,05 1evel providesdettnite′       evidenceofmalingeringinthecontextofexternalincentives
            and symptoms and behaviorsthatcannot be fu‖           y explained by neurological,psychiatric′       or
            developmental factors(D Criteria).Pankratz and Erickson(1990)deScribed a signiicantly
            below… chance resuit on a forced choice PVT as′      the smoking gun ofintent′ because a higher
            (ChanCe― leveり Score would be obtained ifthe ctaimant was blind to the choices and guessed
            the answer for each item, Guessing is tikely to generate a chance― level performance.
            Intentiona‖ y providing a sumcient number ofvvrong answersteadsto a score thatis signi←
            icantly belovv chance,
               Chafetz(2008)provided base― rate evidence of the frequency of signincantly below―
            chance PVT failure in SSD claimants for SupplementaI Secunty incOme(SSI,Children and
            aduits)and SOCiaI Security Disab‖       itylnsurance(SSDl,adults)inCOme.Thisstudy showed that
            12.3‑13.60/Oofadultciaimantsand 100/OofchildciaimantshadPVTscoresthatvveresignin―
            cantiy belo、 ,v chance′ deined with a binomial probability levei ofρ       く,05,As these ngures
            provideunequivocalevidenceofalargenumberofadultandchildciaimants、 lvho                       are delib―
            eratetymisrepresentingthetrclaimedabilitiesinapub‖ c disability program′ they potentia‖ y
            have policy implications fbrthe SSA system.
               Given the medicolegal importance of statistica‖        y signincant beio、   Al―   Chance resuits on
            PVTs′     itisirnportanttooptimizethemethodoftestingofsignincance.8inder,Larrabee′ and
            M‖ lis(2014)addreSSed the issues of probability leveis′ one― tailed vs,two― ta‖ ed tests′          and
            combination of PVT scores.The probab‖ ity tevel of.05 used fortesting hypotheses about




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            134 0 LM.Ы NDER AND M,a CHAFETZ

            issues such as the erects ofpathogens and treatments orthe associations between historical
            factors and dependent variables′      using two or rnore independent samples from direrent
            populations′ had been arbitrarily applied to the completely difFerent statisticalissue ofdeter―
            mining if a forced choice test result was signincantly worse than chance.As Binder et al.
            (2014)pointed out′ the signincance level for forced choice testing was appropriated from
            research on groups without receiving a logical or statisticaltest ofits accuracy or appropri―
            ateness,The widespread acceptance of a probability levei of,05 for comparison of groups
            vvasnotasumcientreasontouseitforanalysisoftheresuitsofaforcedchoicetestinasingie
            case.To determine an empirica‖ ybasedprobabilityleveifortestingsignincance′ they exam―
            ined data from the Warttngton Recognttion Memory Test― Words(WRMttW)frOm a sample
            of 1 27 aduh participants wkh traumadc brain injuries(TBIs)ranging from mild to severe,
            none ofvvhom had inancialincentives fortheirtest perfbrmance,None scored worse than
            23/50 correct(460/0).The cut‐ 。 scorefromthissampleof22/50 yielded a one―             ta‖   ed p level
                                            「
            of.24 vvhen the binonliat was calculated′ ratherthan estimated fronn the z approximation,
                                                                  lVinanothersampleofparticipants
            Thissame cut‐ o「 score wasalso supported on the WRMT‐ ヽ
            ヽ
            A,ith mixed etiologies cited by Binder et al。 (Kim et al,12010).Based on these data,Binder
            et al.recommended a probabilitylevel of.20 fortesting the hypothesis that a belo、           A,―   Chance
            SCOreヽ A,aS Signincant.
                Binder et al.recommended one― tailed signincance testing for below‐ chance scores to
            test the hypothesis that the resuits were signincantly beiow chance.Their revie、 ハ
                                                                                             ,ofthe lit‐
            erature shovved no consensus aboutthe issue of one―       or t1/vo― ta‖ ed   testingoThey reasoned
            thatthe hypothesis of belovv― chance performance vvas un卜 directional and one― tailed,there
            was no need for signincance testing when scores、 Alere above chance′ as iow scores that
            were 50%correct or better were compared with empiHca‖ y based cut― ofF scores,
                Combining PVT scores also wasrecommended in ordertoincrease the number ofitems
            and thus the statistical power of signincance testing with the binomial theorem (Binder
            et al・   2014),Scores from tests divided into more than one subtest could be added togethe丘
                     ′
            Consistent v胡    ththerecommendationoftheauthorsoftheVictoriaSymptomValidityTest
            (VSVL SIiCk′ Hopp′ Strauss′     &Thompson,2005)and ofthe Portiand Digit Recognition Test
            (PDRL Bindet 2007)′ signincance cOuld be tested on either section ofthe tests(easyorhard
            items)or on the totalscore・     Asiong asthey areindependent′     subtest scores could be com―
                                                                               on the Test of Memory
            bined(8inder et al.′ 2014)to inCrease statistical povver.For example′
            Malingettng(TOMM,Tombaugh′        1996),wtth three sections,each containing 50 Кems′ for
            21 correct of 50 items(420/o),p=。 161.Ifthe same percentage correct(420/0)waS Obtained
            on the totalscore for a‖ three sections ofthe test(63 correct of 150 items)′
                                                                                    ρ=.03.
               Subteststhat are notindependenセ cannot be combined,Forexample′ the Ⅶord FMemory
            TeSt(WM■ Green&Astne吟 1995)and the MedicaI Symptom ValidityTest(MSVL Green′ 2004)
            have two forced choice subtestsilmmediate Recognition(IR)and Delayed Recognition(DR),
            Scores oniR and DR areindependentand can be combined,However′ the Consistency score
            for both tests is dependent on iR and DR subtest behavior,and thus cannot be combined
            with these otherscores to test the signincance of below― chance performance.
               As revievved in Binder et al.(2014)′ mostreportsofthefrequencyofsignincantlybeiow―
            chanceindingsin the‖ terature were based on ρ leveis of,05,Both one― tailed and the more
            conservative tvvo― ta‖ ed tests ofsigni輛 cance were reported,While most ofthese reports are
            about single subtests′ some investigators(Binder.2007,Green′ 2008,SIick et al,′         2005)have




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                                                                                        THE CHNに   ALNEUROPSYCHOLOgsT o 135

            takentheopportunitytocombinetestscoreswhenreportingthefrequencyofsignincantly
            below― chance scores.
                While Chafetz(2008)atready reported on the frequency of signincantty below‐                                  chance
            lp<.05)輛 ndings using theTOMM and MSVTin SSD samples ofaduits and children′                                    this prior
            study ut‖ ized only this conservative probab‖ ity leveL analyzing onty single(and nOt COm―
            bined)subtests.Thepresentstudywasdesignedtodeterminethefrequencyofsigniicantiy
            belo、 lv‐ chance   nndings using more recent′ empirica‖ y derived probab‖ ity leveis while also
            examining con∩ bined subtest scores,Obviousty′ a higherρ level of.20 asrecommended by
            Binder et al。 (2014)will prOduce a higherfrequency of signincantiy betow― chance nndings′
            but h was ofinterestto determine,uSt hOW much higher,As these nndingS are potendally
            ofinterestforSSApolicyconcerningmisrepresentationofaciaimantЪ                                    disablingproblems′
            they are discussed in「 elation to SSA rules,Policy concerning child disab‖                               ity was alsO Of
            concern,as Chafetz and Dufrene(2014)have implicated below‐ chance PVTindingsin child
            abuse and negiect.


            Methods
            Part,c′ p〔 ▼
                       猾ts

            As previously described in Chafetz′ Abrahams,and Kohimaier(2007)and Chafetz(2008)′
            archived records from consecutive Disab‖                     ity Determinations Services(DDS)referrals to the
            practiceofMichaeiChafetzforthepsychologicalconsuitativeexanlination(PCE)′                                    mosta‖ e9‐
            ing lowcognitivefunctioning′ were used,When the claimants signed the HIPAA notincatiOn′
            they were asked for permission to use the scores from their examination for research and
            assured that theiridentity would be protected.Permission was granted ifthe ctaimantinト
            tialed nextto the research notincation.Ontyoneclaimantdeclined′ and herscoresvvere not
            used,TheirstauthorpresentedpreliminaryindingsofthisresearchatastatevvideLouisiana
            DDS meeting(Ap百 128′ 2003)′ and the 10cal DDS Medical Liaison Omcer prOvided wntten
            acknowiedgment aboutthis presentation and the research invoived.
                Table l shows the demographic tabulations ofthe recordso Asindicated(ChafetZ′                                2003)′
            participantsintheTOMMstudywere232consecutiveDDSreferralsforthePCE.Ofthe 221
            referrals who were administered theTて                    )FMヽ化1 29 werelA′ AIS‐ 1‖ ―
                                                                                               age′ and 92 vverelAイ ISC― i‖ ‐
                                                                                                                            age′
            and the two data― sets we「 e separated into samples ofadults and ch‖             dren,When[)DS shifted
            to the use ofthe llViSC―          iⅥ the MSVT Wasthen used forva‖ dity testing.in the MSVT study′
            there were 55 WAIS―         l‖
                                             ―
                                             age participants and 271A'ISC‐ iV― age participants′ which were again
            separated into samples ofaduhs and children.Asthe presentstudy had direrent otteCdVes


            Table￢ .Sample characteristics for adults and children on the Test of Memory Malingering and Medical
            Symptom ValidhyTest(aduk5 0nly)Studに                s,


                                                Test oF Memory Malingering                         MedicaI Symptom ValidityTest
                                                     Aduit                        Ch‖ d                       Aduit
            N                                          129                         92                           55
            Aget                                   28.9(10.9)                   10,7(2.7)                   29.6(12,1)
            Educationt                              9.6(2.0)                     3.6(2.4)                    9.3(19)
            Gender                                 71M′ 58F                     64M′ 28F                     33Mサ 22F
            Ethnicity                          103B′   24W20                    818′   1l W                  488,7W
            Notest B=BIack/African―   American,w=White,O=Othett M=Male,F=Female.
            'M(SD).




Ex. 122, p. 5 of 15
            1360ヒ        M.Ы NDER AND M・ 臥 CHAFETZ


            than in Chafetz(2008),thereweredifFerencesinthenumberofrecordsinvoived.Forexample′
            the Chafetz(2008)study had more restrictive inclusion rules for the frequencies in each
            condition′ requiring each case to have a‖     PVTand lQ data,ExceptfortheAdultMSVTtable′
            the tables that show the rate of signincantly beiovv‐chance indingsin the base‐ rate study
            (Chafetz′   2003)have fewer cases than in the present study,The Child MSVT data were not
            inctuded in the current study due to iow sample sizet



            P9rFο r″ ,9狩 Ce yt〃 ″,デ :/test5

            TOMM(TOmbaugh,1996)Iin the Original sSD study(ChafetZ et al,,2007)′   two trials ofthe
            TOMM were used in the formaltesting of performance vatidК y.The TOMM is not descHbed
            here because it is we‖   known to the readers.The Retention triat was not used,MSVT The
            MSVTisafbrcedchoicetestthatcontainsalistof10pairsofwordspresentedtwicetoeach
            clairnantonacomputerscreen.Claimants are then asked to choose the correcttarget words
            from pairs consisting of a target and a fb‖   .Because most claimants― aduits and ch‖ dren―
            con∩ plained ofreading dittcuities′ the exaRlinerread a‖      the words and choices on the screen′
            therebyerecting a combined computerand oraladministration(Chafetz′     2008),ThiS accom―
            modation ofimpaired claimants′ removing a possible source of errorfrom reading or exec―
            utive dysfunction and ieaving onty the ciaimantЪ (forCed)ChOiCes′ was further discussed in
            Chafetz(2015).We knOW Of no research examining the eFect ofthis mogincadon ofthe
            standard administration′ though we note thatthe origin ofthellVMT changed from oralto
            computer administration without change of cutい ofFsP and the equivalence ofthe oral and
            computer administrations has been demonstrated(HoSkins′ Binder,Chaytor,W‖ liamson′                         &
            Drane′   2010).HOWeveち any hypothetical change ofscores from this hybrid method would
            likely be in the positive direction(e,9.eliminating impuisive responding errors)′          vvhiCh Would
            renderourresuitsinthisstudylesstikelytobeduetoinadvertentresponsesintrulyimpaired
            individuals,MoreoveL Dh Paul Green,theauthoroftheMSVLsuggestedinapersonaicom―
            munication(May ll′ 2017)that thiS hybnd methOd would assistthe very few wК                      h severe
            reading dittcuities,thereby minimizing failures,



            8'猾 ofη f〔▼
                      rprobabデ ′
                               F:/sFg,,デ FTcて ,ncc′ eyc′ s

            Statistical signiicance was tested、lvith the binomial theorem′ as calculated online at the
            Vassarstats、 A,ebSite http://vassarstats.net/textbook/ch5apx.html′ which provides an exact
            binomial probability calculatohThe exact binomial probab‖          ity(Pb)iS Obtained using various
            applications ofthe formula:

                                                                                      k)
                                        Pb(k Out of N)=(N!/k!(N―       k)り (pk)(qN‐



            in this fbrmulaI N=numberofopportunitiesforaneventtooccur(e.g,choosing the target
            WOrd)′ k=nunnber oftimes that the event occurs oris stipulated to occur,in this case′                the
            nun∩ berofcorrecttargetchoices,p=probability the event vvill occur on any particular occa―
            SiOn(etg..5 for 2 forced choice)′   q=probab‖       ity the event vvili not occur on any particular
            occasion(e.g..5 for 2 fbrced choice).
               We used the Pb value for a one―   ta‖ ed test′   applying the fbrmula to a‖ values of k equal
            to orsma‖ er than the stipulated k amountr which is the probab‖                ity of getting k or fewer




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            events,Forthe MSVT and theTOMM(Orany other PVT v胡 th two forced choice alternatives)′
            Pb refers to the probability of obtaining such a resuit by chance.For exannple,fbr 20(or
            fewe「 )correCt         Of50items on theTOMM′ k=20,N=50,the one‐                             ta‖ ed   exact binomial prob―
            ability(Pb)iS,1013.


            Resuits

            メ
            lrrirrt     sITmp′ e

            in the aduit MSVT samplef7(12,70/o)indiViduals obtained scores on immediate Recognition
            (IR)or Delayed Recognition(DR)that Were worse than chance at the.05 1evel,compared
            with 9(16.40/o)indiViduais at the,20 1evel(see Table 2),When MSVTIR and DR scores were
            summed′ 6(10,9°/o)indiViduals performed signincantly less than chance at,05,compared
            with 3(14.5%)at.20。 Considenng the typical cut‐ or on the MsVT(く 90%)′ 33 ind"iduals
            (600/0)performed worse than the cut― o「 score on eitheriR or DR.
               For either trial on the TO掏 1,H′ 18(140/0)indiViduals scored worse than chance at the,05
            1eVet COmpared wtth 26(20。 2%)at the.20 1evet.When scores on both tnals were summed′
            the number of participants vvith signincantly below‐                    chance scoresincreased from 1 9(14,70/0)
            atthe,05 1eveito 22(17,10/。 )atthe.20 1evel.Fortheconventionatlevel offailureontheTOMIM
            (Tria1 2く     90%),72ind"iduals(55,8%)scored betow the cut‐                          o「 (seeTable 3)。 The reader will
            notice from the tablesthatthe number ofindividualsin the summed trials v胡                                      th signincantly
            below― chance resuits wasthe same as the highest MSVT trial atone and between the two
            TOMM trials.Wh‖ e the statistical power increases with summed trials,this nnding is an
            expected result when one ofthe trials has severalfewer ciaimants obtaining below―                                     chance
            resuits.



            C′ ,,′   Jsampre
            For either ofthe TOM,酬 trials,11(120/0)ch‖ dren scored worse than chance atthe.05 1evel′
            compared whh 12(13%)children at the.20 1evelo Summing the scores on Tttals l and 2
            yielded 8(3,70/o)ch‖ dren at the.05 1evel and ll(120/。 )ch‖ dren atthe,20 1evel.For the tra―
            ditional failure cut‐ o「        (く   90%)OnTria12 oftheTOMM(uSed in Chafetz et al.′                      2007)′    26(28.3%)
            children scored below cut― o「 (seeTable 4)。

            Table 2.Frequencies ofsignincantly below‐             chance scores at difFerent binomial probabillty levels:adults
            MSVi
                                             Percent correct
            Cut score(≦ X)                        (20 triats)     BinomiaI Probab‖ にy         IR%(1)         DR%(1) IR or DR%(1)
            MSVTIR or DR(20 trials)
            5                                         25                  ,0207                  9,1い )           7.3(4)        12,7伊 )
            7                                         35                  .1316                 14.5俗 )          10,9(6)        16.4(9)
            17                                        85                  ,9998                 52,7(29)         58.2(32)       60(33)
            Cut score(≦ X)                   Percent 140 tnals)    BinomiaI PЮ bab‖ にy       IR+DR%(‖ )
            MSV「 IR plus DR 140 tnals)
            14                                                            ,0403                 10,9(6)
            16                                                            .1341                 14,5(8)

            Notest MSVT=MedicaISymp(om Va‖ dityTest,TOMM=TestoFMemory Ma                    ngeringテ   IR=immediate Recognition,DR=De‐
                layed Recognition,Tl=Tria1 1,T2=T,ia1 2,In these tablestthe one‐   ta‖ edbinomi3i prObab‖ ities are given for a‖ successes
                (1に ems correct)up through the cut score,For example,「 the cut score is≦ 7′ the binomial probab‖ hy For 7 or fewer
                successes h given.Tradlional Faiture cut score tt less than 90%(forTOMMjustT2).AduК     s(MSI峰 n=55,TOMMin=129).




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            Table 3.Frequencies ofsignincantly below―                   chance scores at diferent binonlial probab‖ ity leveisi adults
            TOMM.
            Cut Score(≦ X)                        Percent(50 tnals)BinOmiaI Probab‖ Кy                    Tl%(1)        T2%(1) Tl OrT2%(1)
            TOMM Tl orT2(50帝 iaに )
            18                                            36                       .0325                    6.2(8)        13.2(1⊃         14,0(18)
            21                                            42                       .1611                   11.6(15)       19,4(25)        20,2(26)
            44                                            88                       .9999                                  55,8(72)
            Cut Score(≦ X)                        Percent(100 trials)      BinomiaI PЮ bab‖ ky            ￢ +T20/o(4)
            TOMMTl plusT2(100 tnaに          )

            41                                                                     ,0443                    14,7(19)
            45                                                                     ,1841                    17.1(22)

            Notes:MSVT=MedicaI SymptomValidityTest,TOMM=TestofMemory Ma‖ ngettng,IR=Immediate Recognit,on,DR=De‐
                 layed Recognition,Tl=T,ial l,T2=Tヤ      ia1 2.In these tables′   the one‐ tailed binomial probab‖ ities are given for aW successes
                 (1 lemS COrrect)up thЮ ugh the cut score.For example′            r the cut scoreに ≦7′ the binomial pЮ bab‖ ky for 7 or fewer
                 successes L 9"en.TradlionalFa‖     ure cut score L iessthan 90%(ForTOMM,usttT2)。             Aduhs(MSVT:,=55,TOMMin=129)。


            Table 4.Frequencies of signincantly below‐                  chance scores at direrent binonlial probab‖                   ity tevels:ch‖   ‐
            dren TOMM.
            Cut Score(≦ X)                        Percent(50 tnals) BinomiaI Probabi‖             ty Tl%(1)              T2%(1) Tl orT2%(1)
            TOMM Tl orT2(50 trials)
            18                                            36                       .0325                    6.5(6)          12(11)         12(11)
            21                                            42                       ,1611                    8,7(3)          12(11)         13(12)
            44                                            88                        ,9999                                  28.3(26)
            Cut score(≦ X)                        Percent(loO trials)      BinomiaI PЮ bab‖ ly            ￢ +T2%(1)
            TOMMTl plusT2(100 tnals)
            41                                            41                       .0443                    8,7(8)
            45                                            45                       .1841                    12(11)

            Notes:TOMM=TestoFMemory Ma‖ ngering,IR=Immediate Recognitionサ DR=Delayed Recognition,Tl=Trial l,T2=打ヤial
                 2.In these tables′ the one‐ ta‖ ed binomial probabilities are given for a‖        successes(‖ itemS COrrect)up through the cut
                 score,For example′ iFthe cut score is≦    7′   the binomial probab‖   ity for 7 or Fるwer successesis given.Traditional Failure cut
                 score b lessthan 90%(ForTOMMjustT2).Ch‖           dren(TOMM:n=92).



            Discusslon

            The use ofthe less conservative probability leveiforsignincance testing of.201ed to a sma‖
            increase in the frequency of signincant resuits′                           compared with a probab‖ ity of.05.In the
            adult MSVT sample′ for either recognition trial′ theincrease was from 12.7to 16.40/o.Using
            the combined MSVT recognttion tnals′ the increase was from 10.9to 14,50/o,In the TOMM
            aduit study′ using eithertriaL the increase was from 14 to 20,2%.VVith summed trials′                                                the
            increase wasfrom 14.7to 17.10/oointhechildTOMMstudy′                                         using eithertttaL the increase was
            from 12to 13.0%.VVith summed trials,theincrease was from 8,7to 12%,In comparison,on
            the VSVL in a sannple not known to have externalincentives for poor performance,0.3%
            were below chance atthe,051eveland 2,30/o atthe.20 1evel(Loring′                                           Larrabee′ Lee′ &h/1eado吟
            2007).The Current resuits also are consistent with a prior estimate(Binder et al.,20¶                                            4)that
            was based on data from the PDRT(Greve&Bianchin彬 2006).
                  When testing the level ofsignincance,we recommend the exact calculation ofthe bino―
            mial′     using an ontine calculator such as VassarStats,ratherthan the z approximation that
            was used in the prior paper(Binder et al.,2014).in sOmeinstances,the approximation gives
            a non― precise estimate.
                   BoththeoriginalSIickcriteria(SIiCk et al.,1999)and the revised criteria(StiCk&Sherman′
            2013)specined a .os ievei of signincance fOr deinite malingering.Binder et al。                                                   (2014)




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            proposed broadening this criterion to.20′         based on statistical principles,cutting scores,
            and data from two samples of brain in,ured persOns′ including one sample found in the
            literature(Kim et al.′ 2010).Of potential concern is the pOssib‖ ity thatimpaired individuals
            who guess on a‖ itemsaremorelikelytoobtainresuitssignincantlyVVOrsethanchancevvith
            the higherp level of.20,Such performances′ ifthey were to occur′ should not be ctassined
            as deliberate provision of wrong answers,Our current data on the frequency of beiow―
            chanceresuitsinoursampledonotdirectlyaddressthevalidityofthehigher,20 probability
            level.
                 However′ the empiricalliterature doё s not support the concern that misclassincation is
            IIkely with the higher probabilitytevelin clinicalsamples vvith no known externalincentives
            for poor performance.We reviewed forced choice test data that could be extracted forindi―
            vidual participants from several papers and two test manuals(Binder′         2007,8inder 8t Ke‖ y′
            1996,Carone,2008,Chafetz&Biondoli‖ o′ 2012,Greve&Bianchini′ 2006,Greve′ Bianchini′
            &Doane′ 2006,Haber&Fichtenberg′ 2006,Howe′ Anderson′ Kaufman,Sachs′ &Loring,2007,
            Kim et al.′ 2010,と oring et al.′ 2007,MacA‖ ister′ Nakhutina′ Bender′ Karantzours′ &carison′
            2009,「 酬acciocchi′ SeeL Alderson′ &Godsa‖ ,2006,Schroeder et al.′ 2012,Singhal,Green′
            Ashaye,Shankar′ &Gill,2009,SIick et al.′ 2003).We aISO COntacted one ofthese authors ofa
            pediatric study and obtained previously unpublished detalis about the results ofindividual
            casesin one published study cited here on the TO卜      lM′ additional unpublished data on 93
            pediatric cases that fo‖   owed the originalstudy oftheTOA/1A/1,and 25 unpublished pediatric
            cases wtth the MSヽ /T(Witliam MacAIlistett personalcommunicadons′ February 23 and March
            l′   2017).In a published study ofch‖ dren with fetalalcoholsyndrome(Larson et al.,2015),6
            of 120 cases performed beiow the usual cut―o「s on the MSVL we Were unable tolearn via
            personalcommunication how many cases performed below chance atthe,20 1evel′     and we
            did notinctude this study in our aggregate summary,Some ofthe samplesin the studies
            revievved above inctude ch‖ dren with iow inte‖ igence,In aggregatefincluding the unpub―
            lished cases,9 of1630 cases(0,60/o)with no known externalincentivesfor poor performance
            scored worse than chance(pく       ,20)on a fbrced choice test.
                 TheproportionofindividualsobtainingsignincanttyWOrsethanchanceresuitsatthe。               20
            1evelin these published and unpublished studiesis much iess than the proportion of,20
            that would be expectedifeveryone was guessing the answersto the PVTs,We analyzed data
            from the Loring et al.(2007)study because this wasthe study with the highestfrequency of
            betow― chance responding,8 ofthe 346 people(2.30/o)in the ctinicalsample performed lA,OrSe
            than chance,The obtained percentage in the Loring et al。  (2007)sample is signincantly less
            than the 200/O expected if every participant guessed on a‖ items,z=‑8.24′ ρ<,00001,For
            a‖ 1630 cases′ z==‑19,62.If belovv‐ chance resultsin these published and unpub‖ shed sam―

            ples resultfrom random guessing′ then onty a sma‖ proportiOn ofthe participants are guess―
            ing.It also is possible that some ofthe participantsin these studies who、 lvere ciassined as
            lacking externalincentives actua‖    y、 lvere   misctassined and had externalincentives fbrtheir
            scores.
                 We also reviewed some ofthe experimental studies that asked participants to simulate
            cognitive irnpairment(Armistead」 ehie&Denney,2015,8inder&ヽ Villis,1991,FrazieL Frazie吟
            Busch′    Kerwood,&Demaree,2008,Green′               &Courtney,2009,PowelL Gfellett Hendncks′
                                                            FlaЮ ′
            &Shariand,2004,Singhal et al.,2009,Vickery et al.′ 2004).The mean scores on forced choice
            PVTs fbr groups simulating cOgnitive impairment in these seven studies including nine
            groups were above 50%correct′ exceptforagroupsimulatingreadingdisorderontheVSVT




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            hard items(Frazier et al,,2008)and a grOup simulating TBI on the PDRT hard items that
            averagedjust under 50%correct(Binder&Willis′         1991).
               In summary′ experimental studies have demonstrated that most simulators instructed
            tofeignbraindysfunctionperformbetterthanchance,The c‖             nicalstudies have shovvn that
            onlyO.60/o ofvarious samples vvith no known externalincentives′ many ofthem with obvious
            cognitive impairment,performed signincantly vvorse than chance(p<,20).Therefore′                   si9‑
            nincantly below― chance nndingS(p<.20)have great clinical signincance.
               WefoundthatahighrateofSSDclaimantsperformedworsethanchanceatthe,20 1evel′
            with up to 200/Oofaduitciaimantsandupto130/O ofch‖ d claimants performing signincantly
            worsethanchanceonaperformancevaliditytest.The performance validity tests′ in isolation′
            do not necessarily indicate that the examinees were malingering.The diagnosis of marn…
            gering includes the criterion of an externalincentive for poor performance′              which also is
            metin ali SSD ctaimantst
               our nndingS potentia‖ y have an impact on policy and practice within the SSA.
            Administrative La、 AIJudge Michael G‖ bert(PersOnal co日 lmunication′ 2016)highlighted that
            SSA and the()輛 ceoftheinspectorGeneral(OIG)have developed the Cooperative Disab‖                    ity

            lnvestigations(CDり program (httpsi//oig、 ssa.gov/cooperative― disab‖      ity―   investigations‐ cdi)′
            which works with the state[)DSs and other departments ofSSA to prevent and investigate
            fraud in various programs′ including disab‖ ity,Since the CDI program was established in
            1998′   investigative erorts have resuited in a reported S3.2 billion in proiected savings to
            SSÀdisab‖ ity programs.」 udgeGilbertindicatedthatitisunlikelythatmanyoftheseinves―
            tigations have been about malingering per se.Most investigations concerned issues such
            as inconsistencies in the record′    concealing vvork after getting benents′      c。   ‖ege activities′
            other activities of daily l,ving,orlying about otherfacts ofthe claimo The use ofthis neu―
            ropsycholo9icalperformancevaliditytechnologycouldbenentthecDlinvestigationsifthe
            DDSs were to refer based upon consultative examination indings.
               We emphasize that psychologists do not have the legal authority to equate any oftheir
            indings vvith a determination offraud.The authors are merely providing education to the
            fact― れnders(e.g.administrauve      lawjudges)wtthinSSAfortheirowndeterminadonsorrefer―
            rais to OIG.The mere evidence ofsignincantty below‐     chance resuits′ along、 Alith Otherinfor‐
            mation in the record′may demonstrate a pattern thatis factua‖ y rneaningfuito the fact― nnder
            charged with assessing myriad data points throughoutthe medicalrecord(AlliChael Gilbert′
            Personal Communicadon′      2016)。
               ItisirnportanttodeterminethepracticalsignincanceOfthecurrentれ           ndingsr as potentia‖ y
            the relaxation ofthe below― chance criterion may have an impact on SSArs assessment ofits
            evidentiary requirements.Thisis a dimcuit propositiOn.The publicly reported actuarialtables
            ofaduitdisabledbenenciariesbydiagnosticgroup(only mental disorders)shovvthatin SSDI
            there were 2,727′ 043 Disabledヽ lVorker Benettciaries and in SS1 2′   819′ 246 Aduit Recipients′
            ages 18‑64fbr2015(SSA,2016a′        2016b),Compared to the 201l numbersreported in Chafetz
            and Underhill(2013)′ the 2015 SSIreport did not break outthe numbers by diagnostic cat‐
            egory.Therefore,the previousty reported percentage of mental disorders(58,60/o of aduit
            SSI cases)vVas used.Underthe current rules′ these19uresrepresentbenenciariesforwhom
            no validity evidence was systematica‖ y obtained(Chafetz′ 2010,Chafetz et al,, 2015).
            Hovvever′ nota‖ benenciaries were sentfor PCEsfrom vvhich the current beiow―             chance data
            were obtainedfand itis known within the system that not a‖      consultants make theirrecom―
            mendations fu‖ y from the resuits ofthe PCEs,




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                Another way of examining this problem is to study the disposition of applications for
            SSI disab‖ ity benehts in 2015(Tableヽ    上Cl,SSA′ 2016b).Ofthe l′ 426′ 41 9 SSI cases nied in
            2015′ with l′ 167′ 472   total decisionsin that year,29%were provided aHowances(vVith Some
            occurring after appeals and reconsiderations),wh‖        e71%vvere denied for various reasons
            tnCluding:the impatrment was not expected Or did notiast 12 monthtt the impairment
            vvas not severe o「 did not cause severe functionallimitations,the claimants were able to
            do their past vvork or anothertype of work,or there was insuttcient evidence′ failure to
            cooperate′ did not wantto continue the ciaim′ orreturned to work),Ofthese denials′             17.7%
            (206′ 463)were    sti‖ on appealforthe nextstep in the appeals process.The knowiedge that
            up to 200/O of ciaimants sent for PCEs to garner evidence forthe fact‐ 輛nding in these cases
            were showing′ the smoking gun ofintent'to misrepresentimpairment would have been
            informative in any stage ofthe process′ inctuding the further appeals at the Administrative
            La、 Aサ   Judge level.
                The high rate of signincantly below‐ chance indings in the ch‖ d sannple is of special
            concern,Feigningatthedirectionorpressurebyothersinthecontextofattnancialincentive
            has been tabeled malingering― by― proxy(MBP)(StiCk et al.′ 1999,Slick 8t Sherman′ 2013).As
            Chafetz and Dufrene(2014)asserted from their reviewed cases and from prior examples
            (See Cassar′    Hales,Longhurst′   &Weiss,1996),MBPCanbeaformofabuseandmaybetreated
            as such by protective agencies.Chafetz and Dufrene(2014)propOsed thatin cases of AllBR
            which are especia‖ y signaled by betow― chance indings′ that the cases be referred to the
            local Child Protection Agency fbrinvestigation as a matter of policy.
                One ofthe timitations ofthe current study comes from the dennition ofirnpairmentin
            the study of Binder et al.(2014)as ranging from mild to severe TBI′         vvithout knowing the
            percentages orimpact oftheTBIleveis,While none oftheTBIsubieCtS′             induding severeTBI′
            obtained a betow‐ chance nnding beyond the p<.20 1evel,theseTBI subieCtS are notlikely
            comparable to the ctaimants with low inte‖        ectual functioning in the current SSD sample.
            Howevettthis is notlikely lo have created any interpretive problem in the current study′ as
            h is known that wel卜 mot帝 ated daimants wtth iow intellectual functioning(IQ:60‑75)do
            not typica‖ y failthe MSVT or other PVTs designed fbriow― lQ ciaimants,much iess obtain
            below― chance scores(Chafetz&BIondoli‖      o′   2012).Furthermore′ in this study′ we aggregated
            literature showing that belo、 Chance PVT indings at a probab‖ ity tevel of.20 had a fre―
                                               Al‐


            quency ofonty O.6%in ctinical samptes.
               As with any studyザ itis possible that the frequency of beio、 lv― chance輛 ndings is sample
            dependent.The frequency of beiow― chance nndingS Should be reported in future studies
            of difFerent populations.Anotherlimitation is the non―        random placement of targets and
            fo‖ sin    the MSVI A more conservative approach to the testing ofsignincance may beindト
            cated fortests with topographic locations oftargets and fo‖ sthat are non― random.
                Neuropsychologists are aware that malingering at anylevei cannot be deined by a test
            resuit alone′    and that it takes adherence to established guidelines(e.g,Stick&Sherman,
            2013)forappreciationofthecontextofthenndingS,Moreover′                、
                                                                                  ハle caution that neuropsy―
            chologists should not hberalize the established cut―    o「s vvithout carefu‖ y validated empirical
            jusuncatiOn′     such as Greve and Bianchinit work on theTOMM(2006),
                In summary′ the recommended use ofa probabilitytevel of.20fordetermining ifa forced
            choice test score is signincantly beiow chance(Binder et al.′     2014)led tO a sma‖ but mean‐
            ingfulincreaseinthefrequencyofsignincantresultsindisabilityciaimants,Si9nincant results
            in the context ofan externalincendve likely signify deliberate efforts to misiead the examineL




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            i.e,malingering.The frequency of signincant resuits in this sample of applicants for Social
            Security benettts has innplications for the adnlinistration ofthese benents.



            Acknowiedgments
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            reviewers′       whose comments helped improve the manuscript,Thanks to Melissa Greenneld for her
            technical hetp.Note:WethankJudge Michael Gilbertfor his analysis concerning the reporting offraud
            within the SSA‐OtG system.The views he expressed in this paperare his′              made in his personalcapacity
            as a private citizen.He does notin this paperrepresentthe views ofthe SociaI Security Administration
            orthe United States Government.The information he has provided in this paperis based on publicly
            available sources unrelated to his service with the SociaI Security Administration.Judge G‖ bert is
            not acting as an agent or representative ofthさ Social Security Administration or the United States
            Government in this activity,There is nO expressed orimptied endorsement of his views or activities
            by eitherthe SociaI Security Administration orthe Untted States Government,



            Disciosure statement
            Laurence Binderis the author and pub      sher of the Portiand Digit Recognition Test,Michael Chafetz
            authored′ ″,te'た ctvθ ,Dな ab″ t/f(:rimわ θ′θnJ Ov丁 ′
                                                              Fore,,sた lsstres′ published by Oxford University Press′
            from which he receives royalties.The authors perform medicolegal evaluations.



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                                                           is′


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                                        b independent practice,Sarasota,FL,USA
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                                                                                 Laurence M.Binderl,Glenn J.Larrabee2,and Scott Ro Millis3
                                                                                 lhdependent practice,PoHland,OR,USA
                                                                                 21ndependent pracdce,Sarasott FL,USA
                                                                                 3Deparment OfPhysical Medicine&Rchabiltttion,wayne State Unや
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                                                                                 validity test resuits fお m the deliberate pЮ
                                                                                power oF signincance testing of a below chance result on sttndardЙ 』 FC tests win empi● cally
                                                                                dedved cutor scores,we reconunend using one―
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                                                                                                                                            tailed tests oF signincance and selecing proba‐
                                                                                bihty levels greater than.05(.20 for most standardized FC testt win empidcally dedvcd cutofF
                                                                                scorcs)・Under ceHah circumstances,we also rccom!ェ    lend combね hg scores IIom direrent scc‐
                                                                                dons oF the same FC test and combhing scores across diFFerent FC tests.These recottlmenda‐
                                                                                tions require modincadons when apphed to nOn‐ standardized FC tests that iack empl遭 cany
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                                                                           Some widely cited neuropsychological crite五 a for diagnosis of malingering
                                                                  (ShCk,Sheman,&Iverson,1999)stattd that dgnincandy bClow chancc perfomance
                                                                  on forced choice(FC)testS COnstimted e宙 dence of dennitc malinge五 ng,when an
                                                                  exttrnal incentive was pttsent,Consistent with the SIick et al. cttte耐                                 a,the Amehcan
                                                                  AcadOmy oF Clinical NeuЮ psychology Consensus Conference Statement(HeilbЮ nner
                                                                  et Л,,2009)aSSerted thtt signincandy bdOw chance perFomance on FC tests ttp鶯 ‐
                                                                  sented àFdeliberate atttmpt to misrepresent one's own abinties''(p.1103).A National
                                                                  Academy of NeuЮ psychology posidOn papば                               (Bush et al,,2005)charaCtedzed similar
                                                                  perfomance witt he phrase,              biased rcspondhg"(p.422).
                                                                           Signincandy be10w chance perfoAttllance on FC tests is common in some forensic
                                                                  neuЮpsychological settngs,An early smdy using hc Portland Digit Recognition Test
                                                                  (PDRT)shoWed hat 170/。 of a sample of 102 examinees with anancial incent市 es for
                                                                  claims of mild head ittury perforined signincantly below chance,P<.10(BindeL
                                                                  1993)。    SubSequent sttdies used a P level of.05,聯 ritt he Victotta Symptom Validity
                                                                  TeSt(VSVT),6%perfomed worsc than chancc(GЮ te ct al.,2000).BOtt he Word
                                                                  Memoり Tcst(WMT)and he PDRT yielded signincantly below chance peromance in
                                                                  almost 60/c of a large sample with nnancial incentives while the Test of Memory
                                                                  M』 ingeing lTOMM)had a ngure of 2,60/。                              (Greve,Binder,&Bianchini,2009).USing                            GOVERNMENT
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Ex. 123, p. 1 of 10
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                                                                      various ttneasures in a sample of cn■ inal defendants,220/O perfo▲ ム
                                                                                                                                         Iled below chance on
                                                                      at least one FC ttst(Ardolt Denney,&Houston,2007).ChaFetz(2008),in a Sample of
                                                                       Social Secu五 ty Disability applicants,found hat 12%scored below chをnCe On any ttal
                                                                      ofthe TOMM.
                                                                             Most standardized FC tests involve two alternatives for cach item.In a two‐ alteト
                                                                      nat市 e FC test,血 e pЮ babinり of randomly selecting or guessing the corect response,R
                                                                      equaに the pЮ babⅢ ty of he incorrect response,Q,Witt P=Q=.50.FC tests have
                                                                      numerous two‐ altemativc trials, for example,36 for each of the casy and hard sections
                                                                      of he PDRT(Binder&れ「illis,1991),and 50 for each面 al block of he TOMM
                                                                      (TOmbaugh,1996),Scores On hese perfolmance vЛ idiv testS(PVTS)Can be analyzed
                                                                      as to wheher or not hey fall below he range expected for chance responding,using
                                                                      he nomal approxirnation to the binonlial,which deanes the numerajor as the number
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                                                                      COFeCt minus(NxP),with N representing he number oftrials and P=0.5 for a PVT
                                                                      with two altcm疵 市es for each hem.The denomhatorね 州 Q(Sttgel,1956),The
                                                                      pЮ babmty of he resulting z‐ score is obtainedと om a z table,
                                                                            A corection factor is utthzed for he z approximation for iess than 50 trials,
                                                                      becausc thc nolェ al disttbution is for a continuous va五 ablc,while the binonlial disttbu‐
                                                                                          ^▲

                                                                      tion involves a discrete variable. The corection factor of O.5 is subttacted aon the
                                                                      numerator when the number of erors exceeds 500/O ofthe itemso When he鶯       雷e50 or
                                                                      more ttals,regardless of he v』 ues of P and Q,the binOmial appro対 mation can be
                                                                      characterized as■ oAHlal,and no corection is required.When there are behveen 36 and
                                                                      49髄 』s,and when P=Q=.5(a two Лtemative test),the appЮ ximationね veり good;
                                  掛 場 ｂ ＞︼




                                                                      in these simatiOns,the correction also is unnecessaly(Runyon,Coteman,&Pittenge、
                                                                      2000).In his papeち ゃr computations of he binomin apprOximation of scores on帥 o
                                         目Ｄ ｅ Ｓ ∽ 留 嵐 ｄ Ｆ ﹈ ス０ おｏＯ︑




                                                                      altemative FC tests,we win use he cOrection factor when the numbば     of tttals is lcss
                                                                      han 36.
                                                                            Despite the diagnostic importance and the ttquency of suiricant FC results,
                                                                      there is no rationalc or consensus for selection of an appropriate level of probability
                                                                      to use for he assessmcnt of statisdcal signincance or for he related decision to use
                                                                      a one‐ tailed or脩 o‐ tailed test.()ne issue is the choice of signincance level, AIthough
                                                                      he VSVT authors(SIiCk,Hopp,Sttwss,&Thompson,2005)denned signincance as
                                                                      ,05,he PDRT author(Binde4 2007)recommended a P level of,10,A second issue
                                                                      is thc decision to usc onc― tall or two‐ 伎liled tests, and a study presendng data on he
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     ど 房 ｏ∩




                                                                      能 quency of below chance resuhs using both one‐ 面 にdれ d two̲tttled tests(Greve
                                                                      et al,,2009)implied lack of consensus.A third issuc is the combining of scores
                                                                      iom difttrent sections of a test and combining scores tom different FC tests,Com―
                                                                      bining scores entarges the number of items undergoing signincance testing. As he
                                                                      number of items increaseS, there is a reduction in the error percentage needcd to
                                                                      ob協 h signincance.Binder(2007)recommended ttsting of signincance on the PDRT
                                                                      on he 36 Easy items,he 36 Hard items,and on he 72 Total items,a slnilar pЮ               ce‐

                                                                      dure is recommended for he VSVr(Slick et al.,2005).In he Manual for he
                                                                      TOⅢ llM,Tombaugh(1996)was silent on the issue of combining scores on he tttee
                                                                      dals of the test.
                                                                            h his papeL we pЮ vide recommendations for tesing of signincance and inteト
                                                                      pretation of below chセ mce scores on FC tests regarding he directionality of hypohesis
                                                                      tesing,pЮ babmty levels,and the combining oFtest scores.




Ex. 123, p. 2 of 10
                                                                                      SICNIFICANCE TESTING OF FORCED CHOICE TEST RESULTS                            3


                                                                     DIRECT10NALITY OF HYPOTHESIS TESTING
                                                                          CeneraIIy, neuropsychological testing involves detection of dencitsi the poorer
                                                                    he examinee's perfo二 五llanCe,he greater his impairment,On a    ⅢЮ altemative FC task,a
                                                                    complete absencc of abilittt or       zeЮ abinty'',should result in a level of perfo▲    ム
                                                                                                                                                             ▲lance
                                                                    wihin he range of chance,or appЮ 鷲mately 50%corttct,whtteas someone who is
                                                                    feigning imp航 ▲mlent might be expecttd to peiform worse than chance.A score that is
                                                                    signincantly Worse than chance demonsttates intentional avoidance of the correct
                                                                    choice,in an attempt to pottray impttlliム ent,
                                                                             Demey(1996)demonStrated hat a group of comィ          nlmity‐ dwelling   volunteers who
                                                                    were unfamiliar wih alleged c五 minal offenses de血 onsttated zero abiliv''by perfom‐
                                                                    ing at the chancc leve1 0n FC testing of knowledge of the details of these cttrnes.Three
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                                                                    c朗 minaldeFendants suspected of malingettng remotc memory imp菰 11llent in he context
                                                                    of evaluation for competency to proceed to t嵐 al perfolHled at a signincantly belo、 v
                                                                    chance level on corect identiricatiOn Of facts relevant to the aneged Offenses,presented
                                                                    in two‐ altemat市 e FC foAlilat,
                                                                             A two‐ tailed test of signincance is used for tcsting a hypothesis that one score is
                                                                    different in either direction han another scorc or for testing the hypothesis that a coin is
                                                                    biascd in eiher direcdon for aゃ s of heads Or taits.A one‐ tttled test is appЮ priate for
                                                                    testing he hypohesis that a neurological group is impaired relative to the con仕 ol group
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                                                                    or that the coin is biased in one direction.      I
                                                                          We recommend using a one― tailed test of signincance when a score is lower than
                           掛 垣 ｏ＞召 ｐ Ｐ Ｓ ∽ Ｐ 云 Ｃ 邑 スつ づ喘 馬⊇ ｇ 乙 ∩




                                                                    chance,Someone feigning impaiA▲ ▲  lent on a FC PVT win undexperfoAll▲ by substimting
                                                                    wЮ ng for五ght answers.A one‐ 協iled test is appropdate for testing the hypohesis that
                                                                    a below chance score is signincantぅ because the hypothesis is unidirectional― he pe浄
                                                                         ance eiher was or was not worse than chance,A one‐
                                                                    foェ H▲                                                     tailed test yields a pЮ bability
                                                                    tevel ttat is half thc probability of a two‐ tailed test.It is not meaningttl to test for
                                                                    signincance when a FC test score is better than chance. Better than chance scores on
                                                                    wen̲standardized PVTs should be compared widi the relevant, empincany detelェ llined
                                                                    cutting scores.



                                                                    PROBABILITY LEVELS
                                                                          Testing of statisicat s塩 卵ifiCance in FC testing wih an individual exanlinee whose
                                                                    scores are below the chanceに vel ttsts a di∬ erent hyponesis han a statね dcal tCst com̲
                                                                    pttng group means,A below chance score is not compared wih a gЮ up meant h FC
                                                                    testing,it is hypothesized that a scoreと    om an examinee hat is below chance is signifi―
                                                                    cantly worse han a score obtttned by 8uessing the correct answcr on each item.r he
                                                                    score is siと 卵五ricandy Worse than chancc,then onc logically concludes that the score was
                                                                    generated by力 ヵヵ′    iο Иα′
                                                                                              ′ノpЮ 宙ding wЮ ng answers,
                                                                             It has been suggested that the ttaditional.05 1evet of signiricance hat is widely
                                                                    used for research on groups is inappropttate for assessing the significance of a below
                                                                    chance resuh on a FC test.Reynolds and Horton(2012)rccommended the use of a
                                                                    pЮ babiliv leVel above,10 for FC tests.They reasoned hat he,05 1evel of significance
                                                                    reconl14ended by staisics pioneer R. A. Fisher for he companson of experimental
                                                                    group means was not consistent with he mandate in he legal arena to provide testi‐
                                                                    mony on a more probable than not basis.The specinc P level tO be employed was not




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                                                            specined by Rcynolds and Honon. In the PDRT Manual, Binder(2007), citing
                                                            Reynolds(1998),Л so recOmmended consideration of pЮ babⅢ tyに veに higher than,10.
                                                                   Forced choice Pヽ /T scores also are intelpreted in tems of empiricaIIy developed
                                                            cutofF scores,Widely used FC PVTs emploン       CutOff scores hat are at or above chance.
                                                            CutofF scores are derived lrom smdies Of gЮ ups with wcll― denned neurological histo‐
                                                            ries of brain discase or inJuり that do not have nnancial or oher extemal incentives for
                                                            suboptimal motivation, poor crort,         。r exaggeration of cognitive abnollmanties. These
                                                            cmpirically de五 ved PVT cutofF scores areり piCally sdected so hat false posit市         c identi‐
                                                            ncation oFneuЮ logically impttred sutteCtS Occurs at a rate of 100/O or lestt that is,90%
                                                            of patients wih bona ride brain dysttnction can score above the cutor and pass he
                                                            PVT(BOOne,2007,Larabee,2008〉
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                                                                   In consideration of empidcany derived cutofF scores that are above chance, and
                                                            the fact that he,05 1evel oF probability is designed for testing the null hypothesis of
                                                            differences of group means,we beheve hatthc,05 1evel is too consewative for testing
                                                            he hypohesis that a∫ ′  tyη ′α力膀α′FC test score is signincandy WOrse than chance,We
                                                            distinguish between drα ′ ,プα滋 プ and ηο′ 夕■サと
                                                                                                        V刀 デα潮,z9ι ′FC proccdures. The tatter are
                                                            case specinc,fOr example,testing knowiedge of facts of a specinc cnme(Dermey,
                                                            1996)or len― right discrimination.For ηοη‐
                                                                                                     ∫′αηι
                                                                                                         ′αrdiz9″ FC procedures hat are case
                                                            specinc and that do not have empidcany denved cutoff scores,we recommend a cutoff
                                                            score associated wih a nolttal appЮ 対mation to he binomial pЮ b"ility Of,10 or less,
                                                            a value confoム   11▲   ing to the false positive rates recommended for empincal cutOffs for
                          掛︻




                                                            Perfoょ lllance Validity Tes偽     (Boone,2007,Larabee,2008).
                            懺Φ＞Ｅ Ｄ ｏヽ゛




                                                                  h orderto detemine an empi五 cally justinedP level for standardized FC tests,we
                                                            examincd data on̲夕 e WaringtOn Recognhion Memoり Tcst― Words.These datt were
                                                            obtainedと om 136 panicipants in Michigan with claims of mild TBI,all of whom had
                                                            anancial incentives for her perfOmance on neuropsychobg掩 』 tcsing ohigatiOn
                                     ∽ 解嵐だＦ﹈ぁつＯｏ巧ｓ迫 償＞ ｏ∩




                                                            gЮ up)and lrOm 127 no‐ incenive outtatient participantt with a history of TBI in the
                                                            rttge of complicated mild to severe(TBI grOup).A score on血 ♀Recognition Memov
                                                            Test Words of less than 35 correct(70%)corrcctly classincd 780/O of he higants and
                                                            890/O of he TBI patients.No member of he TBI group scored worse than 23 146%)
                                                            correct.Analysis of the probability of signincance of a score of 22 corect,the empi五 ‐
                                                            cally dedved cutoff with zero false posiives(100° /o specincity)fOr thiS Sampleぅ using
                                                            he z approxi14atiOn,yielded z=0.8485,P=,2005.The Recognition Memoり                    Test cut‐
                                                            Or Ofbe10w 46%dedved〔 lom the Michigan sample was suppotted by data in the liteト
                                                            amre On ttc same testt h a sample of 124 patients ofrnixed etiologies without extα nal
                                                            incentives for hvand perfOょ lllance who demonsttated good effort on othcr measures,
                                                            血e worst perfomance was 58%correct(Kim et al.,2010).
                                                                  Therefore, we recommend a p level of。 20 for signiricance testing of below
                                                            chance resuits on dサ と αttz9ι ′FC tests wih empi遺 cany dettved cutting scores that are
                                                                                      "′
                                                            at or above the level of 50% corect, To our knowledge, his inctudes an the wen̲
                                                            known sttndardized FC tests witt two altemat市 es for each item.Arguably,a less con‐
                                                            seⅣativeP levei can bejustined.
                                                                   Data obtttned iom other standardized FCTs also support he use of a P level
                                                            of.20.To our knowledge,samples of people witt brah dysttnction lacking incent市 es
                                                            for poor perfo▲ ェ
                                                                            ▲iance do not inctude scores below chancc on standardized FC tests with
                                                            帥 o altematives for cach ttm.For example,he TOMM Manual(Tombaugh,1996)lists
                                                            the cutting score for invalid perfollム   lanCe as falhng at or below 880/。   corect on Ttta1 2




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                                                                        SICNIFICANCE TESTING OF FORCED CHOICE TEST RESUBTS                           5


                                                       or Delay.This valuc is signincantly bθ rrθ r than chance,z=5。 37,P<,0001.The poorest
                                                       perfOAlllance of any of the non‐ mahngenng chnical compattson group was 580/。
                                                       (a70‐ year‐ old patient with AIzheimば 's disease).The TBI BЮ up data in the TOMM
                                                       Manu】 for T五 Л 2shows htt only one of45 taumatic brain ttШ y pttents(a pa五 た洋
                                                       pant with ttree months loss of consciousnessぅ a subdural hematoma,and a nght henli̲
                                                       paresis)scOred 44 corect(880/0).The tOwest score by a dementia patient(70 years old
                                                       with Alzheimer's disease)waS 29 corect(580/0),md the lowest score in the cognitively
                                                       impaired gЮ up,ap五 ent wih Korsako∬ 's syndЮ me,was 35 oorect(70%〉
                                                             Simlar data were ttported for the PDRT(Binder,2007;Binder&Kelly,1996)。
                                                       The o五ginal cutting scores(subSequently modined)were set to achieve 100%specinc̲
                                                       ity in a,aumatic brain ittuり Sample witt unequivocal e宙 dence of brain dysttnction
                                                       and no rinancial incentive.These scores werc below 52.80/。       corect for the Easy items,
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                                                       below 500/O for the r【 ard items,and below 54.20/O for total itelns combined.
                                                             Exa■linees wittout external incentives for low scores also perfoAAil better than
                                                       chance on the Ⅵ ctona SymptOm vandity Test(VSVT).Tabに 3 of he VSVT Manu創
                                                       (StiCk et al。 ,2005)appears tO show that none of a non‐ compensation‐ seeking patient
                                                       group with seizure disorder and,or severe ttaumatic brain inJuり SCOred below 750/O for
                                                       he Easy or he Dimcult items,or below 770/O on the total corecti Table 4 of the
                                                       Manual appears to show that none of a group of moderate to severe TBI perfottmed
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                                                       below 830/O for Easy or below 50%for Dimcult items.The VSVT"ranual data a俺
                                                       ∞ nsistent witt data in he peer revttwcd hterature(Grote et al。         ,2000,Macdocchi,
                                                       Seel,Alderson,&Godsall,2006).
                                                             ClassincatiOn statistics applied to eitter cntα ion gЮ up(    knOwn gЮ up")or simu̲
                                                       lation research designs indicate hat cutting scores exceeded by 1000/0, of a chnical
                                                       pnent gЮ up are equ市 alent to denntt perfOmance invalidtt The POdive Predicdve
                                                       Power(PPR or pЮ bability ofpelfomance invalidity)iS equal to Truc Posidves■ (Tェue
                                                       Posit市 es tt False Posit市 es)i when False Posit市 es arc O, hc PPP becomes l.00
                                                       (Baldessa五 nt,Finklestein,&Arana, 1983),The empincally d∝ 抒ed cuttng scores
                                                       assure high specincity and allow the use of a F'level grcater ttan,05.The classincatiOn
                                                       statistics based on thc cutting scores,including sensitivity,specincityj and the base rate
                                                       of perfo111lance invandi吋 ,provide infoAHム adOn about the chance of rnisclassification of
                                                       perfO工 AllanCe   on a PVT and he pЮ bability of invalid perfomancc.The P level is not
                                                       he probability Of invahd perfornance.
                                                             We use scores on he TOMM to demonstrate the effect ofincreasing he F'level
                                                       on classincatiOn of scores as below chance. If one uses a one‐ tail test of signincance
                                                       阻 dP Of,05,a score of 19 or fewer corect is signincant,P=.046,and a score of 20 is
                                                       not signiricant,ュ   )= .079. A score of 21 corect p = .129, is less than half he
                                                       e4pidcally‐ dettved cutor scores tho Were rccommended by the test author and later
                                                       researche埒 (GTeve et Л.,2006;Tombaugh,1996〉            AH membeぉ of Tombaugh's(1996)
                                                       TBI gЮ up were corect on far more han half hc items on aII hree ttials.The lowest
                                                       score of any of Tombaugh's dinicn suttectt On tti』2 was he aforementioned suttect
                                                       浄om tte dementia gЮ up who scored 29 corect,The pЮ bability level is the probability
                                                       hat a score was obttlined by guessing or random responding.A score of 21 1lkely is the
                                                       product of intentionally incorect responding. Although some other FC tests are more
                                                       dimcult han he TOMM, as demonsttated by scores of wen‐ lmOtivated comparlson
                                                       groups with brain dysttcion, the same logic apphes, Table l shows the number




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                                                                              Table l. CutorfscOres Ofnulnber corcct for various 19vels oFsignincance


                                                                     50 items 100 items 150 items 40 items 80 items 36 items          72 items   24 items■      48 items




                                                                                   ４
                                                            .05                                              14                                         8           18




                                                                                   ４
                                                            .10                                              15                                         9           19



                                                                                   ４
                                                            .20                                              17                                         9          21

                                                                Thc lsted scores are s推 即ねCantly below chmcc,for example,on a test with 50 items,a score of 20 coFeCt
                                                            pく ,10,The TOMM has a total of 150 items,including 50 itcms h each of 3常 ials,The Word Choice Test
                                                            andヽ Va苗 ngton Recogniion Memory Test― Words have 50 itcms,The Word Memory Test has a total of 80
                                                            items widi帥 o forced choice altemat"es,includinB 40 1mmediate Recognition items and 40 Delayed R∝ og"
                                                            nition ittms,Scores on he Word Memory Test Consistency(CNS)itemS are dependent on scores on the
                                                            lmmediate and Dclayed Recogni■ on items,therefore,CNS scores should not be combincd widl lmmedate
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                                                            and Dclayed Recognition scores when tesing for signincmce,The PDRT has a total of 72 ittms,including
                                                            36 Easy■ ems and 36 Hard items.The VSVT has a total of 48 items,including 24 Easy items and 24 Hard
                                                            items.
                                                               ICorrecdon for conSnuity used in calculatioa of fewer than 36 itcms,




                                                            corect required for statistical signincance at different pЮ               babihty levels acЮ ss va■ ous
                                                            numbers oftest items.
                     卜〇馬 ﹇




                                                            COMBINING TEST SCORES
                         掛︻




                                                                     Stttistical power increases with more test items, Several widely used forced
                           のお ＞唱 ｐ どｄ ∽ 臓嵐起岳︺ムつＯｏ巧ｓ⊇ 摩房ｏ∩




                                                            Ohoice tests have different parts whose scores can be combined・                For instance,thc VSVT
                                                            has a total of 48 items d市 ided into two parts,each wih 24 items.The VSVT Manual
                                                            (SIiCk et al,,2005)recommends computation of statistical signincance on v研    lous
                                                            sections of he tcst separately and in combinahon.A score oF8 out of 24(33%)correct
                                                            yields,′ 夕=・ 078 with a oneitall test,while a score of 16 out of 48(330/0)cOrect yields,

                                                            P'=,011・ On the TOMM,、 vih three sections,each containing 50 items,for 21 out of
                                                            50142%)coreCt,P=,129.r he same 42%corect is obtained on ali ttRe secdons of
                                                            he test,for 63 out of 150 items cotteCt,P=.026,a dramatic difference in pЮ bability
                                                            level.
                                                                     We recommend combining scores on secions of forced choice tests such as he
                                                            VSVL TOMM,WM■                  and PDRT when scores on each section are below 50%corect,
                                                            h order to increase the number of items and the power of signincance testing.A panic―
                                                            ular percentage correct on combined sections of these tests may reach a level of signinぃ
                                                            cance sumcient tO des孤 be perfollilanCe as signiFicantly worse than chance, while that
                                                            sane percentage correct on a single section of a test may not reach a sufncient level of
                                                            pЮbab五 ty.
                                                                     Scores on different secdons of ttsts can,e COmbined only when he testitems are
                                                            independent. The concept of independence of items is straightFoward. Consider he
                                                            pЮbabⅢ v of piCkhg a blue marble l色・om a bag of seven marbles of assorted colors,
                                                            including備 o blue marbles.The ttats are not hdependent,because he probabihty
                                                            Ohanges aner the selectton of each marble,when samphng winOut replacement, Selec‐
                                                            tion of a blue marble on he rirst piCk lowers the probability of selecting a blue marble
                                                            on the second pick from.286 to.167.h conttast,when tossing a fairccin,the儀 ・lals are
                                                            indcpendent,Obttlining heads on the nrst toss does not alter the probability of obtaining




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                                                                                     SICNIFICANCE TESTING OF FORCED CHOICE TEST RESUETS                           7


                                                                     heads on the second coin toss, In he same way, he success of an exanlinee on the
                                                                     items on immediate recognition on the WMTI if he Or she is guessing,is independent
                                                                     of success on he items on delayed recognition,if he or she is guessing,The indepen‐
                                                                    dence of the琵9確∫exists despite the fact hat∫ て
                                                                                                                 ,ο ′
                                                                                                                    9∫ on iHlmediate and delayed recogni‐

                                                                    tion are directly related,
                                                                          The authors of FC tests recommend combining test scoК ,s,Paul Grccn,the author
                                                                    ofthe WMT and otherlbrced choice measures,also combines scores on inimediate and
                                                                    ddayed recognitton ttals when tcsdng for st孤 sdcЛ signincance(Green,2008〉 The
                                                                    PDRT and VSVT auttors also suggest combining scores(Binde馬              2007i Shck et al.,
                                                                    2005).
                                                                             Scores hat are not independent should not be combined. Scores on he WMT
                                                                    consistency index are dependent on scores on immediate and delayed recognition and
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                                                                    should not be combined with recognition memory scores for the purpose of testing of
                                                                    statistical signincance.
                                                                             Scores on difFerent forced choice ttsts may be combined,in order to increase the
                                                                    power of significance testingo Combining scores is the proper procedure because the
                                                                    probability of gucssing con℃ cdy on any item on one testis independent ofthe probabil‐
                                                                    ity of guessing an ite■ l correcdy on another test,For example,suppose an examinee on
                                                                    he WMT was correct on 18 items on immcdiate recognition and 18 items on delayed
                                                                    recognition.The■ sulting signincance level for 36 of 80 items corect is′ ″=.187.The
                                                                    same hypohetical examinee was corect on 20 of 48 items on the VSV■ ど  ,=,125.
                            掛 ぢ お ＞︻




                                                                    When the scores on the WMT and VSVT       Υe combined, 56 correct of 128 items
                                                                    corect,P=,079,
                                                                          Combining test scores attoss SeCtions of one FC tcst or across differα lt FC tests
                                   償つ ９ Ｓ ∽ ω償ムβ 炉 ﹈沐つ Ｏｏもヽｏ︻




                                                                    is recommended only to increase power when he scores to be combined are aH belo、 v
                                                                    chance.Ifthe exanlinec is signiricantly below chance on onc FC tcst or secdon of a test
                                                                    and above chance on another FC test or section of a test, then we do not recommend
                                                                    ertting he below chance result by combining scores,



                                                                    DiSCUSSION
                                                                            In suminary, 血e hkenh。 。d of obttining statistically signincant rcsults wih
                                                                    below chance scorcs on FC tests will increase wih he use of one― 協iled hypothesis
                                                            霞＞ 〇∩




                                                                    testingぅ pЮ bability levels above,05,and combining test scores wihin and between
                                                                    PVTs, These measures can be used in unison, We recorimend that one‐            tailed tests
                                                                    and a P level of.20 be used for aH below chance results on FC PVTs with empid‐
                                                                    cany de五 ved cu樹丸ng scores that are at or above the level oF chance. If below Ohance
                                                                    results are obtttnedと om different sections of he sattne test,such as he ttree前 als
                                                                    of he T()MM, then the scores can be combined, Scores also can be combined iom
                                                                    different PVTs,These measures may be used in combination wih one anohe、     for
                                                                    example, P level of .20 and one‐       tailed testing and combining scores     、
                                                                                                                                                   vithin and
                                                                    betteen PVTs.
                                                                       、There are FC tests hat require a more conscwative appЮ ach than he one we
                                                                    recommend.As Denney(1996)and others have shownぅ he exalniner can consmct a
                                                                    FC test using case‐ speciflc infoHllation,However,when using a case‐     specinc FC taskぅ
                                                                    cutor scores based on he perfoA▲ llance of well‐ moivated persons wih brain




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                                                                    8                             LAURENCE M.BINDER ET AL.

                                                                    dysfuncdon usuany are not avttlable,Therefore,it is necessary to select a more conseト
                                                                    vative″ level of,10 ofthan the,20 1evel selected for a well‐ standal・ dized FC Pヽ /T with
                                                                    known cutor scores,
                                                                          Our recommendatiOns also cannot be applied to PVTs if the pЮ bability of guess‐
                                                                    ing五 ght or wrong is rclated to the topographical location of the coFeCt and incorect
                                                                    items on he recognition probe.Most standardized FC tests were designed so that he
                                                                    stimulus pЮ bes contain an equal number of corcct answers in pantcular locations(fOr
                                                                    FC tests with ttro altcmatives,ciher lett or ight,or top or bottom).For example,on
                                                                    the PDRT and the TOMM,he correct answer is located at the top ofthe stimulus pЮ be
                                                                    in halfthe items.
                                                                          h conttast to some standardized PVTs,Gtten's Nonvel・        bal Medical Symptom
                                                                                                                                                         random
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                                                                    validity and MedicaI Symptom Validity Tests contttn stimulus pЮ      bes with non‐
                                                                    iocations of hO corrcct answers(Paul Green,personal communication,May 6,2014).
                                                                    We suggest a more conseⅣ ative approach when applying significance testing to tests
                                                                    with non‐ random ioc証 lons of he孤 lSWers,This hmitation does not arFect the validity
                                                                    ofcutting scores for thesc testt hat wcre established tt empidCat research.
                                                                          Implementation of our recommendations for using a one‐    tailed test and a P level
                                                                    of.20 should have a modest effect on he tequency of classincatiOn of Pヽ      ′
                                                                                                                                                 T results as
                                                                    signincandy be10w chance,For example,we exa■ lined data From Gl・ eve and Bianchini
                      ド〇 ヽ ﹇




                                                                    (2006)on PDRT Totat scores in 56 participants classined as showing evidence of poor
                                                                    eHbrt on other measures in heir battely,Eleven of he 56 with poor effort on other
                           掛︻




                                                                    mcasures had PDRT scores below chance at he level ofP<.20(one tailed)and nine
                             盟 Φ＞召 ｐ ど Ｓ ∽ 鐵 猟 ゼ 邑 ス０ お咄 るＲ ｇ ３ ∩




                                                                    had scores below chそnce at the level ofP<.10(one tttled),It COuld not bc detellllined
                                                                    how many tom this sample had scores signincant at the,05 1evel,but it was dear that
                                                                    our suggested P levet would not dramaticany increase the frequency oF classincation・ In
                                                                    a larger sample fl・ orn the same population,60/O were worsc than chance at the.05 1evel
                                                                    (Greve et al.,2009).
                                                                          Deliberatc exaggeradon of impai▲ ょ ▲lent is common aner pOSSible mTBIs that arc
                                                                    not expected to produce signincant pellilanent impailHlent rather than aner mOderate
                                                                    severe ittudes where ths exaggerttion occutt less frequent,(Bindeち        1993,Greve&
                                                                    Bianchini,2006).MotiVttion to show more i判 却ment than truly exね 偽can be docu‐
                                                                    mented by FC testing.If FC tests are failed using empittcany de汽 ved cutoffs,then pos‐
                                                                    sible genuine dencits cannot be measured and here is no ottcCt市     e neuЮ psychological
                                                                    evidence of imp江 ▲  lllent. In the presence of signincantly below chance results on FC
                                                                    tesdng,the examinee has demonstrated intcnt to provide wrong answers and to cxagger‐
                                                                    ate流中航11llent,Poor perfoAttilances on cognitive ttsts may renect inttntional underpeト
                                                                    fomance,while nom』 range scores may be underestimates Of acm』 leve1 0fabiHy
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                                                                    cian can grossly estimate outtome using non‐ test data, for exan4)le, using retum to
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                                                                    to lead to peA工 IAanent dysttnction,such as a severe TBI.h one case seen by he second
                                                                    auhor,the accuracy ofthe test data could not be rened upOn due to evidence ofperfor‐
                                                                    mance hvalidit‰ but the exaininee's histoり    of an admission Glasgow Coma Scale of
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                                                                    showed ittЩ y Seventy characte嵐 stics associated witt only 80/O of the Dikmen et al.
                                                                    (1994)TBI suttectS remmhg to work.h short,he results of FC tesing must be placed




Ex. 123, p. 8 of 10
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                                                                    within the context of pther test data and he exanlincc's history,and conclusions some‐
                                                                    tilnes must be estimated fronl base‐ ratt predictions derived frOnl peer reviewed
                                                                    research.
                                                                           The diagnosis of malhgering may not be synonymous wih the deteAlllination that
                                                                    all neuropsychological test perfoAlllances are invand. However, perfolAllanCe on a FC
                                                                    test hat is signincantly worse than chance provides dennite cvidcnce of malingedng
                                                                    and dchberate response bias, when this occurs in he context of the presence of
                                                                    substantial extemal incentive(HeilbЮ nner et al.,2009,SIick et al,,1999),We agree
                                                                    with Pankratz, who descibed signiricantly worse than chance p∝    folょ ▲
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                                                                          The auhoぉ thank he reviewers and the associate editor for their consttuctivc
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                                                                          Laurence Binder, Glcnn Larabec, and Scott Minis perfOrm medicolegal consuitations,
                                                                    Laurence Binder is the author and pubisher of the Portland Digit Recognition Tcst.




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    Ex. 130, p. 1 of 1
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                     4:21-CR-009-GCH
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Ex. 131, p. 2 of 2
Gov. Ex. 133
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Ex. 133, p. 1 of 3
Ex. 133, p. 2 of 3
Ex. 133, p. 3 of 3
Gov. Ex. 134
TO DO LIST – TANGARRA
                                                        revised December 17, 2011

VISTA EQUITY FUND`

-made $600M initial committement to VEPFIV

-also consider debt fund that uses leverage and buys debt of Vista portfolio companies

PROJECTS – NEW – Investment Management Advisory Company

-it is time to proceed on this project by contacting Debevoise & Plimpton so that it can
start small and start getting some age on it

-this should be an LLC owned directly by RTB that provides investment advice to Point

-this entity could also provide management services to portfolio companies allowing
further income that is tax deductible to the portfolio companies

-the LLC should be US based with a year-to-year contract with Point such that at some
point a new entity that included RTB II could be formed to take over the business

-investments should be made directly by Point as this is an already established entity
through which SSHLTD has historically made investments – which have provided the
AEBCT with a further liability shield

-fee percentage should be industry standard and may be different based upon the
investment mix

-fee is adjusted annually

-amount of fee is regulated by how much capital is committed

-consider Debevoise for drafting the investment management company contract

-this entity only provides recommendations to Point, it does not act for Point so as to
avoid any FBAR requirements


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 Ex. 134, p. 1 of 12
PROJECTS – OTHER

-build combined structure charts for the AEBCT structure (send me a complete
set of charts)

-republish structure charts after the reorganization of the three non-AEBCT
structures are done

-keep a running spreadsheet on private equity commitments

-build a complete description of all the 2011 organizational changes

-build for the years 2010-2011 a log of significant transactions – and continue to
update this log forever – so that it is easy to see how asset balances move
around

-create master document by entity of all bank accounts, signatories, and contact
persons within the banks – republish when any changes occur – add section for
comments – such as relationship details – key people

-due to Bermuda laws that enable assets to be frozen with essentially no right to
effectively protest thru the courts, all significant bank balances should be
elsewhere where the rule of law and the courts is still in place – probably
Switzerland – or maybe Panama

-this should include all information necessary to be able to log on to these accounts to
verify balances

-remaining sets of externally kept books are – Spartacus, Augustus (Dan Jenkins),
SSHLTD (Jim Collins), Point (now Evatt with Dan Voth for backup)

-need to find a way that someone else runs Point in order to satisfy the auditors




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PROJECTS - TRUSTEES & TRUST PROTECTORS

-establish Graham Wood as Trust Protector personally for the AEBCT, he then resigns
and Acquitaine becomes the corporate Trust Protector where Graham Wood is Director

-document telephone conversation with Trevor Lloyd prior to his death where he
      resigns and concurs with your suggestion as Graham Wood personally as
      successor – provide an original wet-ink signed copy of this memo to Bob

-have Graham Wood personally resign and do a formal deed appointing his corporation
signed in wet ink

-for backup purposes, secure a wet-ink signed letter of resignation and appointment of a
new Trust Protector with date and appointee left blank – send this to Bob

-secure a digital signature from Graham Wood along with a wet-ink signed authorization
to use it, provide this signature to Bob along with an original of this authorization

-prepare an Adobe version of the formal deed with date and appointee left blank ready
for use with the digital signature – send a copy of this to Bob

-Heather now works part-time – where she continues to handle St. John’s, AEBCT,
SSHLTD, signatory on Point accounts, books for SSHLTD, Rome Investments, and the
local Bermuda scholarship activities

-visit Al Thorpe to establish record of trustee visiting one of the directors of UCSH

-annual review of Carlos Kepke files

-annual trust meeting to be set at a new date and time – perhaps mid-semester break
where RTB II can come to Bermuda (and Al Deaton as well)

-cultivate Mark Patterson as a future Trust Protector, perhaps a golf trip to Bermuda

-have RTB II visit Bermuda to meet Heather, BCB, BNTB

-begin to consider how to provide backup to Evatt – qualifications are:
       -accounting background
       -not a US citizen
       -capable of acquiring a Bermuda work permit of at least 10 years
       -might discover someone thru the scholarship program



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 Ex. 134, p. 3 of 12
PRIVATE MUTUAL FUND ADMINISTRATION

-liquidate Arboria - $3.1M recovered, rest is tied up on the backend of Madoff

-liquidate Founding Partners - ongoing

CURRENT INVESTMENTS – this section is starting to be re-opened due to
Reynolds refinancing, Ventyx sale, and the improving environment

-Investment Policy for Mutual Fund Investments
       -Class 4 – 0% - money market – hold for emergency transfers
       -Class 3 – 50-60% low risk equity
       -Class 2 – 20-25% medium risk equity
       -Class 1 – 15-20% higher risk equity

-TradeTrakker
      Furnish new copies of portfolio whenever buy/sell events take place

-monitor current investment performance
      -30 day deposits getting .25%

-follow for any potential recovery
       -Bristol – write-off – continue to follow for recovery – partial distribution of $1.7M
       received – some potential for minor recovery $140-150K

-complete losses
      -STIR – liquidated at $5M loss in total
      -Core Digital – write-off
      -Rosefaire FCS 10% interest $1.8M
      -A/R from Gate –




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NEW INVESTMENTS

-periodically think about asset allocation

-receipt of cash from sale of Reynolds is unlikely for the next 2 years according to
current thinking – then the amount will be around $2B

-VFF $50M commitment

-Sunquest 2nd lien debt $29.487M

-Vision Solutions 2nd lien debt $26M

-Applied 2nd lien debt $20.524M

-new investment with VEPFIV, debt fund

-if management buyout of Reynolds does not take place and an outright sale takes
place, start a private equity type operation focusing on software companies like Vista
does using former Reynolds personnel

-set up an investment management firm that advises Point (and if advisable – SSHLTD)

POTENTIAL CHARITABLE DONATIONS
    -Stuart Yudofsky - $15M more

CHARITABLE DONATIONS
    -Rice University – Physics Building - $20M
    -Centre College $19.5M committment
    -Lance Gould $4.5M
    -Stuart Yudofsky - $10M




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 Ex. 134, p. 5 of 12
DOCUMENTS

-preparation of doomsday groups of documents for former Edge and Cabot structures
once their re-organization is done

RECORDS

-St. John’s has two boxes – send me the inventory on these – so as to make a final
decision as to whether to re-locate their contents to Houston

TRIPS

-trips to Danville (Oct 19, 2012 is likely date of Residential Commons dedication),
Houston, and Rice

-trip to Alaska – Labor Day Sept 3, 2012 – arrive in Houston by Sunday Sept 2th at the
latest

-Nevis – meet Ernie Dover Q3 2012

-BVI with Don Q1 2012

-USA – quarterly

EVATT

-working on a larger family




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STRATEGIC LONG-TERM

-Bob & Dorothy redo wills for US estate setting US testamentary trust for care of Robert
II

-Evatt sends to Bob a new version of the academic articles on the Testamentary Power
of Appointment

-in the event of premature demise of RTB, offshore world (other than AEBCT and its
affiliates) should be held for RTB II to eventually manage (Dorothy will be involved in the
AEBCT structure)

-the long term vision is as follows:

       -RTB hopefully lives a long, healthy life
       -after Reynolds RTB engages in private equity investments much like Vista
       -former Reynolds key personnel join this organization – or alternatively
               participate in a LBO/Preferred Stock bailout/MBO
       -RTBII finishes his education in a technical area and also gets an MBA
       -RTBII eventually finds the right lady and starts a family (and stays in Houston)
       -RTBII joins RTB in private equity operation – or investment advisory operation
       -the private equity operation earns fees for managing AEBCT funds at industry
               standard rates providing a living for RTB and RTBII
       -the AEBCT continues to engage in charitable giving in the areas of higher
               education and medical research
       -the corpus of AEBCT is eventually rolled over to AEBGCT or one of the PBB
               trusts

-the disaster scenario where something untoward happens to RTB is as follows:

       -a US-based trusted person holds the ownership papers of the trust protector
              Corporations
       -this US-based person (Al Deaton) endeavors to guide RTBII in the long term
              Vision laid out above

       -there is a backup person (Robert Burnett) to the US-based trusted person
              referred to above




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ENTITY STRUCTURE

Cabot Structure – Reorganization

-create a new charitable trust – purpose medical research
-Choice and Barrier divend shares in Cabot up to Inverness and Shetland Trusts
-Inverness and Shetland Trusts gift their Cabot shares up to Aberdeen Trust
-Aberdeen Trust transfers these Cabot shares to Addington Trading
-Performance dividends its cash up to Endurance Trust
-Endurance Trust gifts this cash to Aberdeen which places the cash into
Addington
-Aberdeen gifts the shares in Addington to the new charitable trust
-Addington has all the shares of Cabot, plus cash, plus share in Edge liquid and
ill-liquid
-Lineage II Trust – holds some shares of Edge – what to do?


Edge Structure – Reorganization

-The Benevolent
           -Software Ltd pays off as much as it can on its loan to Plattoon
           -Plattoon’s cash from the liquid portion of Edge goes to Regency
           -Advertising Services – as soon as one remaining account is closed

-create new charitable trust – for educational purposes

-Plattoon (Legend Trust) gifts its ill-liquid Edge to Legend (Heritage Trust)
-Cascade (Service Trust II) gifts its liquid and ill-liquid Edge to Legend (Heritage
Trust)

-reduce the number of entities - or at least focus on getting rid of inactive entities




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COMMUNICATIONS/PC ISSUES

-find a good double entry accounting system with the following requirements
       -GL detail records must contain date, name/address account number,
               memo number, document number, control number, and description
               field as well as G/L account number and transaction amount
       -traditional journals
               -cash receipts
               -cash disbursements
               -general journal
       -no money entries can be made except by journal entry
       -lots of historical data in the GL account records
       -maintains detail history forever on selected accounts
       -ability to suppress print when detail entries with the same control number
               zero balance
       -possessing standard G/L reports as well as P&L
       -ability to map all fields including historical monthly, quarterly, and yearly
               fields into Excel
       -Sage PeachTree is one to start the search with

-no usage of logic.bm no unencrypted usage of houstonfishingservice.com
except in emergency when lambdaprime.org is down

-document boot-up process for the email server

-send a copy of the boot CD to Bob

-transition all third parties to use this email address, leaving only personal email
on logic.com

-LPG generator with one-week’s supply of fuel

-build a 3rd email laptop – lower in priority than other “hardening” processes

-fire extinguishers for new house

-standards for files saved as part of the document database
      -relevant emails should be saved in .msg format
      -spreadsheets should be saved in .xls format
      -quarter and year-end reports should be saved in .pdf format
      -emails and reports from accounting systems should be saved as part of the
      regular data archiving process



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STANDARD MEETING AGENDA

-review cash balances
-review investment performance
-review structure documentation
-discuss status of each structure
-review status of files – need new inventory of files now that inactive files are
       segregated
-review status of PC systems and software

PROJECTS – NEW – Aircraft Charter Company – now postponed indefinitely

-seek bids for the cash sale of the RJ to independent 3rd parties, then set the price of the
RJ a little above that to compensate for the “orderly sale” delay

-sell RJ to a new US-based C-corp – with preferably RTB owning 1% so he can fly at
cost

-the sale must be of a depreciated asset so as to achieve the EBITDA gain intended

-investigate the potential tax consequences of the sale and subsequent purchase by a
1% owner – does this impact the ability of the new entity to depreciate the aircraft?

-after this change, the RJ is chartered to Reynolds and other third parties at the going
$5500/hour rate – and to RTB at the owner’s $2500 rate


ENTITIES IN WIND-DOWN MODE – BUT STILL NOT GONE

-shut down Software BV – in liquidation process – final complete in 2017




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DANGLING THREADS

-CITGO - used to be in BVI, but now Heritage documents that they have are in
Georgetown, will be retained forever - used to own CTL, Master, Kojak, Micro-
Mainframe, Peters - left there is correspondence with Don, trust deed copies, being
returned to BVI hopefully – status is that they cannot find these files

-Bank of Bermuda - there will be some left over internal memos written by bank officers
in their personal file at least and there are microfilm copies of incoming mail

-Carlos' correspondence, billing, multiple destination, and computer files (gone)

-files of Ken, Robert, Craig - Mexico

-Brook Voght=s files - whatever is left on their network server and its backups, same for
what is at his new law firm

George Hani=s files - same issue as Brook

Ben's Jiltec and SFL records - initial reply was 10 years - find out what is the situation
on Ben=s correspondence files (maybe destroyed by hurricane)

Butterfield Cayman - computerized accounting records of everything - CTL, Jiltec, SFL,
Kojak

Baring Bros. - TIL audit reports, Carlos' correspondence, trust variance documents

VP-Bank copying of structure files and who knows what else – Glen Godfrey

VP-Bank bank records

ATU – files left behind

Malta – DBA, Providian – they will not destroy the copy of anything they ever sent out to
us

Edge involvement in VEFII

Don’s paper files that still may be about

Don’s miscellaneous computer files

Peter Poole’s office


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While I was in Houston a question came up as to the Edge connection to VEFII.

I can report that by way of Sale and Purchase agreement dated August 24, 2004,
$154,582,366 was paid by Point in consideration for Edge’s interest in VEFII.

What we cannot tell is how this and Edge’s other connection with VEFII was recorded
by Vista.

It might be a worthwhile project in the future to review Vista’s records and request
destruction to the extent that we can.

-On May 23, 2011 Evatt (once again) sent and email through the etamine@logic.bm
email account. This message contained an attachment of an Excel spreadsheet listing
of all the original documents kept in Houston. This email will be kept in perpetuity in the
backup tapes of logic.bm. This is the worst breach of security ever to happen to date.




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Gov. Ex. 135
From:            Redfish PC
To:              "Permit"
Date:            Sunday, October 6, 2013 6:32:25 PM


Bob,

I’ll be in New York from tomorrow morning until Wednesday afternoon.

I’ll be deleting all email addresses from my iphone before going to the Bermuda airport and will set
them up again in the taxi going to the hotel. I should be out of email contact until about midday
New York time.

Evatt




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Gov. Ex. 136
From:               Permit
To:                 "Redfish PC"
Subject:            RE:
Date:               Monday, May 5, 2014 5:44:00 AM


Evatt,

Please send to the office.

I agree with your thoughts here.

Bob


From: Redfish PC [mailto:redfish@proventusconstans.com]
Sent: Sunday, May 04, 2014 12:25 PM
To: Permit
Subject: Re:

Bob,

Will do. Do you want this sent to your home address rather than the office?

I have had a thought about chartering the vessel. Does it always need to be you? To
demonstrate a variety of charterers could we have occasions where Al Deaton or Robert Smith
charter the vessel? There might be safe ways we could reimburse them - particularly Robert
as the transaction could be entirely offshore.

Evatt

On 4 May 2014, at 14:42, "Permit" <permit@proventusconstans.com> wrote:
         Evatt,

         Please print off this attachment, sign all three, and then FED-X them back to me.

         By basing my comp plan off of EBITDA rather than pre-tax income, this will give me
         sufficient additional funds to be able to charter Turmoil for a block of 10 weeks per year at
         $150K per week plus fuel.
         That would cover almost completely the $4500/day that it costs to keep her.

         As you can see from the Whereas section, this is an opportune time to make this change
         due to the 8 key officers being put on an EBITDA based plan. Not to mention the logic that
         the value of Reynolds is no longer overshadowed by debt – and will be valued by EBITDA
         completely going forward.

         Bob
                                                                                                          GOVERNMENT
         <Employment Agreement for RTB 140101.doc>                                                          EXHIBIT

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   Ex. 136, p. 1 of 1
Gov. Ex. 137
From:             Permit
To:               "redfish@proventusconstans.com"
Subject:          RE:
Date:             Monday, May 13, 2013 5:52:00 PM


Evatt,

I was also under the impression that the advice was to disclaim the special testamentary power of
appointment – and also prevent any successor to that power.

That way when the service gets ahold of the trust document – they are not able to say that the power of
appointment gives rise to the assertion of control over the trust – which necessitates registration under
FATCA.

Bob


From: Redfish PC [mailto:redfish@proventusconstans.com]
Sent: Thursday, May 09, 2013 3:09 PM
To: permit@proventusconstans.com
Subject:

Bob,

Attached is a draft of the exercise of the special testamentary power of appointment. The idea here
is that you would exercise the power in a way that would enshrine the independence of the trustee
and ensure that no-one else could exercise the power.

As discussed, this document could be executed by you and held by you and/or Al to be produced if
we ever face enquiries from a hostile party.

If not needed or laws change in some advantageous way, then the document could be destroyed
and a different document prepared.

Evatt.


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   Ex. 137, p. 1 of 1
Gov. Ex. 139
 From:             Permit
 To:               "Redfish"
 Subject:          RE:
 Date:             Thursday, April 2, 2015 1:56:00 PM


Evatt,

This is the type of charity that helps just one person with no multiplier effect.

My recommendation is to stick to charitable giving that has multiplier effects such as education and
medical research.

Bob


From: Redfish [mailto:redfish@hannah.com]
Sent: Monday, February 09, 2015 2:48 PM
To: 'Permit'
Subject:

Bob,

I am sorry to ask you, but would consider a charitable donation to put a 16-year-old girl through
boarding school for the next two years.

We’ve been contacted about a young girl we know in Bermuda, Kyla Lowe, who is now homeless.

Kyla’s father is your typical Jamaican – she has never met him and he has provided nothing. Her
mother is little better than useless. Unbeknown to Kyla, her mother stopped paying school fees
three years ago and Kyla was finally kicked out of school. She has been at a community college this
school year doing a High School equivalency course meant for adults with full time employment.

Kyla’s grandmother provided housing, but she died a few months ago and the housing is now gone.

We have taken Kyla in but she needs to be at a proper school. She also needs to be away from her
useless mother.

She is a good person who has worked hard all her life in trying circumstances and would probably do
very well in the right conditions. We thought the school where Olivia and Keziah go would provide
very well for her. She has never had stability in housing etc. Olivia would keep an eye on her and
help her settle in.

Is she someone we can support? Going forward, whenever Kyla is back in Bermuda, she’ll live with
us. We’ll look after all those needs.

Evatt

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Gov. Ex. 141
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